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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE
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JOHNNY L. TRIPLETT,

Plaintiff,
vs. No. 05-2432-B/V
GEORGE M. LITTLE, et al.

Defendants.

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ORDER DIRECTING THE PLAINTIFF TO FILE A
PROPERLY COMPLETED l§ FORMA PAUPERIS AFFIDAVIT
OR
PAY THE CIVIL FILING FEE

 

Plaintiff Johnny L. Triplett filed a p;g §§ complaint
pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. §
2000e et se ., on June 15, 2005, along with a motion seeking leave
to proceed in ;Q;ma pauperis.

Federal law provides that the “clerk of each district
court shall require the parties instituting any civil action, suit
or proceeding in such court, whether by original process, removal
or otherwise, to pay a filing fee of” $250. 28 U.S.C. § l9l4(a).1
To ensure access to the courts, however, 28 U.S.C. § 1915(a)
permits an indigent plaintiff to avoid payment Of filing fees by
filing an in forma pauperis affidavit. Under that section, the

Court must conduct a satisfactory inquiry into the plaintiff's

 

1 Effective March 7, 2005r the civil filing fee was increased to $250.
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with sum 55 and/orv'a(a} FRCP on ' 5 ~O` L ®);

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ability to pay the filing fee and prosecute the lawsuit. A
plaintiff seeking ip ;p;ma pauperis standing must respond fully to
the questions on the Court's ip fp;mg pauperis form and execute the
affidavit in compliance with the certification requirements
contained in 28 U.S.C. § 1746. Seel e.g., Flippin v. Coburn, 107
Fed. Appx. 520 (6th Cir. Aug. 13, 2004); Reynolds v. Federal Bur.
of Prisons, 30 Fed. Appx. 574 (Eth Cir. Mar. ll, 2002); Brogue v.
Fort Knox Fed. Credit Union, No. 86-1896, 1997 WL 242043 (6th Cir.
May 8, 1997).

In this case, the plaintiff's motion for leave to proceed
lp fp;m§ pauperis does not adequately document the plaintiff's
sources of income, assets, and nmnthly expenses. Although the
complaint indicates that the plaintiff was terminated from his
employment with the Shelby County Division of Corrections in
October, 2004, the ip fp;ma pauperis affidavit states that the
plaintiff is currently employed at that location. Moreover, the ip
fp;m§ pauperis affidavit states that the plaintiff owns no real
property, yet he lists a mortgage payment on his list of expenses.
The information provided by the plaintiff is, therefore,
insufficient to permit the Court to conclude that he is indigent
and unable to pay the filing fee or to give security therefor.

Accordingly, the plaintiff is ORDERED, within thirty (30)
days of the date of entry of this order, either to pay the $250
civil filing fee or to file a properly completed ip ;p;mg pauperis
affidavit that is executed in compliance with 28 U.S.C. § 1746.

Failure timely to comply with this order will result in dismissal

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of this action, pursuant to Fed. R. Civ. P. 41(b), for failure to
prosecute.

The Clerk is ORDERED to mail the plaintiff a copy of the
nonprisoner ip fp;ma pauperis affidavit along with this order.

all
IT Is so 0RDERED this ll day of August, 2005.

 

. D IEL BREEN \\
IT sTATEs DIsTRIcT JUDGE

 

  

    

UNITED …T DISTRCIT C URT - WESTENR DISTICRT oF TNNEESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02432 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

Johnny L. Triplett
5150 Steuben Drive
i\/lemphis7 TN 38134

Honorable J. Breen
US DISTRICT COURT

